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                EXHIBIT 21
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 AFL-CIO, et al.,

 Plaintiffs,

 v.                                               Case No. 1:25-cv-00339

 DEPARTMENT OF LABOR, et al.,


 Defendants.




                           DECLARATION OF DONNA MAE SMITH

I, Donna Mae Smith, declare as follows:

      1. The statements made in this declaration are based on my personal knowledge,

         information, and belief.

      2. I submit this declaration in support of Plaintiffs’ motion for a preliminary injunction in

         this matter.

      3. I am a retiree member of the United Nurses Association of California/United Health Care

         Professionals (UNAC/UHCP), Retiree Chapter 1199U. UNAC/UHCP is an affiliate union

         of the American Federation of State, County and Municipal Employees, AFL-CIO

         (AFSCME) and its members, including its retiree members, are members of AFSCME.

      4. I have been a member of UNAC/UHCP, Retiree Chapter 1199U for nine years. Prior to

         my retirement I was a Registered Nurse (“RN”) in California for more than 30 years

         specializing in perianesthesia, providing pre and post anesthesia care to patients.
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5. As a member of UNAC/UHCP prior to my retirement, I was very active in my union

   advocating for healthcare professionals in California, including serving as an elected

   officer and eventually becoming as staff representative as an employee of the union.

   During this time, I participated in many actions organized by UNAC/UHCP to advocate

   for healthcare professionals’ working conditions and quality care for the public.

6. I am currently a licensed RN and occasionally work as a healthcare professional.

7. Since my retirement in 2016, I have received my primary healthcare coverage through

   Medicare. I receive excellent healthcare coverage with Medicare that is almost identical

   to the coverage I was receiving while employed.

8. It is my understanding that Defendants have decided to give access to my personal

   medical information stored at the Department of Health and Human Services (HHS)

   through my participation in Medicare to the Department of Government Efficiency

   (DOGE).

9. I have not consented to, nor do I consent to, giving DOGE or any individual associated or

   working with DOGE access to my sensitive health and personal information stored in

   HHS systems or records. I find it highly offensive that my sensitive information has been

   shared with DOGE.

10. In my almost four decades as a practicing RN, maintaining the privacy of sensitive

   patient information was one of my primary duties as well as my obligation under the law.

   It is my expectation that HHS and the government maintain and protect the privacy of my

   sensitive health and personal information and not disclose that information without my

   consent.
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11. Maintaining the privacy of my sensitive health and personal information is very

   important to me and I do not even discuss this information with my close family or

   friends. My private health information is my business and the business of the healthcare

   provider of my choice. It is not the business of DOGE.

12. I am concerned that this information can be misused by DOGE or disclosed by DOGE to

   private individuals or businesses looking to monetize this information. In my experience

   as a healthcare professional, I know that patients want to keep their sensitive health

   information private and do not want to be discriminated against because they are going

   through a disease process. As a patient, I expect the same and my information should not

   be disclosed to DOGE.



I declare under the penalty of perjury that the foregoing is true and correct.
Executed on April 16, 2025, in San Diego, California.

                                                              /s/ Donna Mae Smith
                                                                   Donna Mae Smith
